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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )
                                                                     )     Re: Docket No. 5096

                 DEBTORS’ OBJECTION TO MOTION OF
          THE PENSION BENEFIT GUARANTY CORPORATION FOR
    ALLOWANCE AND PAYMENT OF PREMIUMS AS ADMINISTRATIVE EXPENSE

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully submit this objection (this “Objection”) to the Motion of the Pension Benefit Guaranty

Corporation for Allowance and Payment of Premiums as Administrative Expense [Docket

No. 5096] (the “Motion”) and respectfully state as follows:

                                            Preliminary Statement 2

             1.    The Pension Benefit Guaranty Corporation (“PBGC” or “Movant”) seeks

allowance and payment, pursuant to Section 503(b)(1)(A) of the Bankruptcy Code, of an

administrative claim for $1,702,474.67 in postpetition insurance premium obligations related to

the Pension Plan formerly maintained by the Debtors as plan administrator (the “Claim”). The

Claim not only relates to obligations that accrued during a period of time in which the estate

derived no benefit from the Pension Plan, but relies on a deviation from an established ERISA



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined in the Preliminary Statement shall have the meanings ascribed
      to them in this Objection.
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statutory scheme predicated on de facto adherence to administrative regulation by PBGC that is

owed no deference in a post-Chevron environment. To the extent that PBGC alternatively attempts

to classify the Claim as a governmental tax under 11 U.S.C. § 503(b)(1)(B), their classification is

misguided. As such, there is no basis for the Debtors’ liability for the Claim and the Motion should

be denied.

                                                Background

        2.      On August 6, 2023 (the “Petition Date”), the Debtors commenced the filing of

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. These chapter 11 cases

have been consolidated for procedural purposes only and are being jointly administered pursuant

to Bankruptcy Rule 1015(b) [Docket No. 169]. The Debtors are managing their businesses and

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.     On August 16, 2023, the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed an official committee of unsecured creditors [Docket No. 269]

(the “Committee”). No trustee or examiner has been appointed in these chapter 11 cases.

        3.      Through March 1, 2024, the Debtors served as sponsor and plan administrator to

three pension plans: the Yellow Corporation Pension Plan, the Roadway LLC Pension Plan, and

the Yellow Retirement Pension Plan. 3 On March 1, 2024, the three plans were merged together

forming the surviving Yellow Retirement Pension Plan (the “Pension Plan”).

        4.      Also on March 1, 2024, the Debtors submitted an application to terminate the

Pension Plan in a distress termination (the “Termination Application”) effective May 1, 2024




3   Each of these pension plans was a single employer defined benefit pension plan covered by Title IV of ERISA.
    See 29 U.S.C. §1321.


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  (the “Pension Plan Termination Date”). PBGC subsequently determined that the Debtors met the

  requirements for a distress termination under 29 U.S.C. § 1341(c).

              5.    On August 2, 2024, the Debtors, as plan administrator, and PBGC executed an

  agreement for the appointment of a trustee and the termination of the plan (the “Trusteeship

  Agreement”). Under the Trusteeship Agreement, the Pension Plan was terminated, effective on

  the Pension Plan Termination Date, and trusteeship of the Pension Plan was transferred from the

  Debtors to PBGC on August 2, 2024 (the “Trusteeship Transfer Date”).

              6.    Under Title IV of the Employee Retirement Income Security Act of 1974

  (“ERISA”), the contributing sponsor or plan administrator of single-employer pension plans

  (a) must make periodic contributions to their plans, see 26 U.S.C. § 412, 29 U.S.C. § 1082, and

  (b) is the designated payor of PBGC insurance premiums (the “Pension Plan Premiums”), see 29

  U.S.C. §§ 1307(a), (e). For plan years prior to 2024, all Pension Plan Premiums were paid from

     assets of the Pension Plan’s trust, as is permitted under ERISA.

              7.    On December 9, 2024, PBGC filed the Motion, requesting payment of a

  $1,702,474.67 administrative expense claim for Pension Plan Premiums allegedly due for the

  postpetition period spanning the beginning of the 2024 plan year, or January 1, 2024, “through the

     date that PBGC was appointed as trustee under 29 U.S.C. § 1342(c)” or the Trusteeship Transfer

     Date. Motion, ¶ 10. The Motion offered no basis for, or calculation supporting, the amount of

     Claim.

                                              Basis for Relief

I.            The Claim Asserted by PBGC is Misplaced Because the Continued Payment of the
              Pension Plan Premiums from Plan Assets Is Appropriate.

              8.    Under ERISA, the Pension Plan Premiums “continue to accrue until a plan’s assets

 are distributed pursuant to a termination procedure, or until a trustee is appointed pursuant to

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section 1342 of this title, whichever is earlier.” 29 U.S.C. § 1307(a). Under the statue, “the

designated payor of each plan shall pay the premiums impose by the corporation . . . with respect

to that plan when they are due.” Id. In the case of a single-employer plan, the “designated payor”

means the contributing sponsor or plan administrator. 29 U.S.C. § 1307(e)(1). However, while

the plan administrator may carry the duty of ensuring that Pension Plan Premiums are paid

post-trusteeship, nothing in ERISA prohibits the plan administrator from paying the Pension Plan

Premiums (as well as any penalties and interest thereon) from plan assets, or otherwise dictates

that the Debtors must deviate from their longstanding practice of doing so. As such, PBGC’s

attempt to collect payment for the Pension Plan Premiums from the Debtors as a consequence of

their appointment as trustee of the Pension Plan is misplaced.

       9.      To the extent that any authority at all can be read as a limitation on the funding

source of post-trusteeship Pension Plan Premiums, that authority is provided exclusively by a

PBGC rule cited to, and commented on, in a PBGC advisory letter issued approximately thirty

years ago. See PBGC Opinion Letter 94-6 (explaining that 29 U.S.C. § 1307 is limited only by 29

CFR 2610.26(b) [now 29 CFR 4007], which provided “that premiums may not be paid by plan

assets for any year beginning with the plan year in which a distress of involuntary termination is

initiated”). Tellingly, the Motion relies on ERISA alone, favoring silence on this point to an

outdated regulation that has been since revised to omit an explicit prohibition on payment from

plan assets. See 29 CFR 4007 (providing only that, “After a plan administrator issues [] the first

notice of intent to terminate in a distress termination under section 4041(c) of ERISA or PBGC

issues a notice of determination under section 4042(a) of ERISA, the obligation to pay the

premiums (and any interest or penalties thereon) imposed by ERISA and this part for a single-




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      employer plan shall be an obligation solely of the contributing sponsor and the members of its

      controlled group, if any.”) (emphasis added).

             10.     Even if PBGC had issued an advisory opinion that was on point, an advisory

   opinion is nothing more than a non-binding interpretation of the law, as one “do[es] not rise to the

  level of a regulation and do[es] not have the effect of law.” Madison v. Res. for Hum. Dev., Inc.,

  233 F.3d 175, 186 (3d Cir. 2000) (citing Brooks v. Village of Ridgefield Park, 185 F.3d 130, 135

  (3d Cir. 1999). At most, “informal agency interpretations given in opinion letters and similar

  documents” are “entitled to respect”—as opposed to Chevron deference— to the extent that they

  “have the power to persuade.” Id. (internal quotations omitted).

             11.     Finally, given that the Supreme Court, in Loper Bright Enters. v. Raimondo,

  recently nullified administrative deference under Chevron, holding that “courts must exercise their

  independent judgment in deciding whether an agency has acted within its statutory authority,”

  strict adherence to any administrative guidance from PBGC—including by regulation—is no

  longer appropriate. Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2267, 73 (2024)

   (noting that “agencies have no special competence in resolving statutory ambiguities.”).

   Accordingly, PBGC’s interpretation of the long-established statutory scheme provided by ERISA

   is not a de facto limit on the payment of the Pension Plan Premiums from plan assets.

II.          Even If Pension Plan Premiums Are to be Paid by the Debtors, PBGC Has Failed to
             Demonstrate the Claim Is Entitled to Administrative Expense Status Pursuant to
             Section 503(b)(1)(A) of the Bankruptcy Code.

             12.     Section 503(b)(1)(A) of the Bankruptcy Code provides special priority for “actual,

  necessary costs and expenses of preserving the estate, including wages, salaries, or commission

  for services rendered after the commencement of the case.” 11 U.S.C. § 503(b)(1)(A).

             13.     Parties seeking administrative expense status carry a “heavy burden to demonstrate

  that the costs and fees for which it seeks payment provided an actual benefit to the estate”
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(In re Bernard Techs., Inc., 342 B.R. 174 (Bankr. D. Del. Apr. 13, 2006) (emphasis added)) and

that these costs were “necessary to preserve the value of the estate assets.” In re O’Brien Envt’l.

Energy, Inc., 181 F.3d 527, 533 (3d Cir. 1999); see also In re MTE Holdings LLC, No. 19-12269

(CTG), 2021 WL 2258270 at *5 (Bankr. D. Del. June 2, 2021) (citing In re Goody’s Family

Clothing Inc., 610 F.3d 812, 818 (3d Cir. 2010)) (same); In re Energy Future Holdings Corp., 990

F.3d 728, 742 (3d Cir. 2021) (explaining there must be a real, actual benefit, not a merely

hypothetical benefit to a debtor for administrative expense priority to be appropriate);

In re Lucky’s Mkt. Parent Co., 2022 WL 843763, at *6 (D. Del. 2022) (citing In re Unidigital,

Inc., 262 B.R. 283, 288 (Bankr. D. Del. 2001) (“Section 503 is strictly construed to keep

administrative expenses at a minimum, so as to preserve the estate for the benefit of creditors.”)).

       14.     PBGC does not come close to satisfying this heavy burden, merely stating that the

“Pension Plan was part of the compensation package for Debtors’ employees, and the expenses of

administering and maintaining said Pension Plan include the payment of statutorily required

pension insurance.” Motion, ¶ 4. In attempting to bolster this conclusory statement, PBGC cites

to two cases, both of which present entirely different factual situations than the one at issue here.

       15.     PBGC cites to the non-binding providence of the Eighth Circuit in In re MEI

Diversified, Inc., where the court granted administrative priority to postpetition workers’

compensation premiums where that insurance product was “essential to its postpetition

operations.” In re MEI Diversified, Inc., 106 F.3d 829, 832 (8th Cir. 1997). In so ruling, the court

noted that MEI could have terminated the insurance and failed to do so. Id. Still, the court held

that the insurer was entitled administrative claim status but only for “the period in which the estate

received benefits from the [insurance] contract.” Id. at 832. Unlike in MEI Diversified, where the

employees covered by the relevant pension plan were essential to postpetition operations, the


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Debtors commenced these cases to effectuate an orderly winddown of its business and liquidation

of its assets in the days after the Debtors’ business was halted and nearly all operational employees

were laid off. As of the Petition Date, the Debtors employed only approximately 304 of 4,333

total Pension Plan participants. This number has continuously decreased over the course of these

chapter 11 cases—by the Pension Plan Termination Date, approximately 106 Pension Plan

participants, or 2.5% of the total number of Pension Plan participants, remained employed by the

Debtors. As of the Trusteeship Transfer Date, approximately 58 Pension Plan participants, or

fewer than 1.4% of the total number of Pension Plan participants, remained employed by the

Debtors. 4

        16.      Much like the Eighth Circuit in MEI Diversified, the Third Circuit in In re Marcal

Paper Mills held that postpetition withdrawal liability for a multi-employer pension plan was

entitled to administrative expense priority where the benefit to the estate was “unquestionabl[e]”

because “it [wa]s clear that the covered employees were required to perform work postpetition in

order to keep [debtor] in operation.” In re Marcal Paper Mills, 650 F.3d 311, 317 (3d Cir. 2011).

Setting aside the fact that withdrawal liability—as an obligation predicated on withdrawal from a

pension plan rather than the maintenance of it—should not be analogized to the obligation

presented by the Pension Plan Premiums, Marcal Paper found that the withdrawal liability

obligation was entitled to administrative expense priority because, where such obligation

correlated to the employees’ postpetition employment, it was essentially equivalent to a

postpetition wage benefit. Such a comparison is irrelevant here where, as described above, the




4   All counts reported herein represent actuarial estimates for the value of benefits accrued as of certain dates
    throughout these chapter 11 cases.


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majority of the Debtors’ participating workforce had been laid off prior to the Petition Date, let

alone January 1, 2024.

          17.    Furthermore, the Pension Plan was closed to new participants on January 1, 2004,

and benefit accruals under the Pension Plans were later frozen for all participating employees,

effective July 1, 2008. At least one court has held that pension plan premiums allegedly accrued

during the administration of a chapter 11 estate were not entitled to administrative expense priority

treatment where the pension plan was frozen six years prior to the commencement of the

bankruptcy case. See generally, In re Kent Plastics Corp., 183 B.R. 841 (Bankr. S.D. Ind. 1995).

There, the court reasoned that expenses could only be deemed administrative “to the extent that

the consideration supporting the claimant’s right to payment was both supplied to and beneficial

to the debtor-in-possession in the operation of the business.” Id., at 847 (further explaining that

“the timing of the payment cannot be the determinative factor in granting administrative status”

and dictating that, “[i]nstead, the [c]ourt must look at the postpetition operations of the debtor and

the relationship between those operations and the postpetition accrual.”).

          18.    Furthermore, the Pension Plans were frozen fifteen years prior to the Petition Date,

halting the accumulation of new benefits for all participants, and the Debtors’ have, for the last

nearly sixteen months, maintained a skeletal staff working only to effectuate a winddown of their

business. Therefore, the consideration allegedly supporting PBGC’s right to payment was neither

supplied to nor beneficial to the estate. As such, PBGC seeks an administrative claim for expenses

that “bear no relation to the ongoing affairs of the debtor-in-possession while in Chapter 11.” Id.,

at 847.

          19.    PBGC also suggests that the consideration supporting their right to payment of the

Pension Plan Premiums, if not the operation of the Pension Plan and its role in maintaining the


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Debtors’ workforce, is the distress termination itself, which it notes “presumably. . . benefitted the

estate.” Motion, ¶ 17. To the contrary, the Debtors’ sought the termination of the Pension Plan

precisely because they were no longer deriving any benefit from it. Nevertheless, PBGC’s

argument fails in that it is explicitly based on presumption where courts have routinely held that

“[t]he benefit must be actual, not hypothetical.” In re Energy Future Holdings Corp., 990 F.3d

728, 742 (3d Cir. 2021).

        20.     Further to the fact that the timing of the Pension Plan Premium payment should not

be determinative of Claim’s priority, the Debtors note that had they paid the Pension Plan

Premiums from plan assets, as they had routinely done in prior plan years, prior to the Trusteeship

Transfer Date and ahead of schedule—the Debtors have traditionally paid Pension Plan Premiums

in late September or early October—the payment from the plan assets would have increased

underfunding under the Pension Plan, which would have resulted in what the parties agree would

be a general unsecured claim. 5

        21.     Finally, PBGC cites to references to pension-related work and meetings held

between the Debtors and PBGC from fee applications filed with this Court by Debtors’ counsel as

evidence that the Debtors “were aware of their obligations concerning the Pension Plan.” Motion,

¶ 16. To be sure, evidence of fees accrued in connection with the Debtors’ right and statuary duty

to examine and object to the claims filed by PBGC is irrelevant to any analysis of administrative

expense priority endorsed by bankruptcy jurisprudence. See 11 U.S.C. § 704 (“A trustee shall . . .

if a purpose would be served, examine proofs of claims and object to the allowance of any claim

that is improper.”).



5   See, e.g., claim no. 16466, filed by PBGC and asserting a $90,100,000.00 general unsecured claim related to
    “unfunded benefit liabilities” of the Pension Plan.


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III.          The Pension Plan Premiums Are Not Entitled to Priority Under 11 U.S.C.
              § 503(b)(1)(B) Because the Pension Plan Premiums Are Not a Tax.

              22.     PBGC asserts that the Pension Plan Premiums are entitled to administrative

       expense priority under 11 U.S.C § 503(b)(1)(B) precisely because they are not a tax “of a kind

       specified in section 507(a)(8),” but— in the event that the Debtors argue that it is such a tax—

   attempt to reclassify the Pension Plan Premiums as a tax eligible for administrative expense

   priority under 11 U.S.C. § 503(b)(1)(B).                 PBGC’s analysis is nothing more than a

   mischaracterization.

              23.     In mischaracterizing the Pension Plan Premiums as a tax, PBGC relies on the

   Lorber-Suburban factors, a set of six factors that the Third Circuit has noted may be relied on by

   courts in determining whether an exaction is a tax. See In re Szczyporski, 34 F.4th 179, 187 (3d

   Cir. 2022). PBGC believes that the Pension Plan Premiums could be categorized as a tax under

   the Lorber-Suburban factors because “five of the six factors weigh in favor of PBGC, and none

   weigh against [it].” See Motion, ¶ 18. The Debtors disagree with this analysis. For example,

   PBGC’s assertion that payment of its Claim will not disadvantage private creditors with similar

   claims for postpetition services simply “due to the size of the estate” is both false—every dollar

   paid out of a finite claims pool necessarily affects the claims of other claimants— and unfounded,

   seemingly having been made without any data or analysis as to the size of the estate as compared

   to the Debtors’ postpetition obligations.

              24.     Furthermore, it bears noting that these “six factors [do not] constrain our inquiry.”

       In re Szczyporski, 34 F.4th 179, 185 (3d Cir. 2022) (citing In re United Healthcare Sys., Inc., 396

   F.3d 247, 255 (3d Cir. 2005)). To the contrary, “any relevant factor” may be considered. Id., at

   185-86 (explaining that the court’s “examination of an exaction . . . is a flexible one that allows us

   to consider the characteristics of the obligation in light of the evolving treatment of priority claims

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under the Bankruptcy Code.”). The Third Circuit has, for example, ruled that “the ability to

manipulate the assessment to encourage or discourage a certain activity is a characteristic of a tax.”

In re United Healthcare Sys., Inc., 396 F.3d 247, 254 (3d Cir. 2005). PBGC itself notes that the

Pension Plan Premiums include flat-rate premiums based “upon a fixed amount per participant in

the pension plan” and variable-rate premiums calculated as a function of the “pension plan’s

underfunding.” Motion, ¶ 10. A fixed rate is not able to be altered, while a variable rate based on

past underfunding suggests that the variable rate-based premiums are penal, rather than meant to

encourage or discourage a certain activity. See United States v. Reorganized CF & I Fabricators

of Utah, Inc., 518 U.S. 213, 214 (1996) (holding that a liability arising under an Internal Revenue

Code provision imposing ten percent “tax” on any “accumulated funding deficiency” of certain

pension plans had an “obviously penal character,” that signaled that the liability was a penalty, and

not a tax).

        25.     Expanding the tax analysis to include factors outside of the limiting

Lorber-Suburban factors shows that the Pension Plan Premiums are more appropriately considered

a penalty, rather than a tax. As such, the Pension Plan Premiums are not eligible for priority

treatment under 11 U.S.C. § 503(b)(1)(B).

IV.     Even If PBGC Is Entitled to Allowance of the Claim with Administrative Expense
        Priority, It Is Not Entitled to Immediate Payment.

        26.     The Bankruptcy Code does not require immediate payment of allowed

administrative expenses prior to the effective date of a debtor’s chapter 11 plan. See 11 U.S.C.

§ 1129(a)(9). Any acceleration of allowed administrative claims during a debtor’s chapter 11 cases

is left to the discretion of the Court. In re Bookbinders’ Rest., Inc., 2006 WL 3858020, at *4

(Bankr. E.D. Pa. Dec. 28, 2006) (finding that timing of the payment of an administrative claim is

within the discretion of the bankruptcy court); In re Garden Ridge Corp., 323 B.R. 136, 143

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(Bankr. D. Del. 2005) (“Courts have discretion to determine when an administrative expense will

be paid.”).

        27.        In order to qualify for the “exceptional” discretionary grant of immediate payment

of an administrative claim, a creditor must show that “there is a necessity to pay and not merely

that the debtor has the ability to pay.” In re Cont’l Airlines, Inc., 146 B.R. at 531 (emphasis added)

(internal quotations omitted). In exercising this discretion, courts have adopted a three-factor test

to determine whether to require payment of administrative claims upon request: (a) the prejudice

to the debtors in making an early payment; (b) the hardship to the claimant in waiting for payment;

and (c) the potential detriment to other creditors that could result from an early payment. See

Garden Ridge, 323 B.R. at 143; Modern Metal Prod. Co., 2009 WL 1362632, at *2; see also In re

HQ Global Holdings, Inc., 282 B.R. 169, 173 (Bankr. D. Del. 2002) (holding that, in making a

determination as to timing of payment of administrative expenses, “one of the chief factors courts

consider is bankruptcy’s goal of an orderly and equal distribution among creditors and the need to

prevent a race to a debtor’s assets” (internal citations omitted)).

        28.        PBGC’s request fails to satisfy any prong of the acceleration test. First, PBGC has

provided no explanation to justify immediate payment of the Claim. The request for immediate

payment fails on this basis alone. See In re Cont’l Airlines, Inc., 146 B.R. at 531 (requiring a

creditor to show the necessity of immediate payment, not just a showing that the Debtors has the

ability to pay).

        29.        Second, the Debtors would certainly be prejudiced were they forced to make

immediate payment of the Claim. A grant of an immediate payment could result in similarly

situated creditors racing to the courthouse to request immediate payment of their claims at a time

in the case where Debtors are, and should be, focused on the confirmation of these chapter 11


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cases. 6 The Debtors should not be made to divert their attention and available funds for this

purpose at this pivotal time in the chapter 11 cases.           Furthermore, piecemeal payment of

administrative expenses prior to the Debtors’ consummation of a chapter 11 plan is distracting,

detrimental, and needlessly complicates the Debtors’ prosecution of their chapter 11 cases.

        30.     Third, PBGC will not be prejudiced, nor has PBGC demonstrated that it would face

any hardship, much less meaningful, extraordinary hardship, by waiting until the end of these

chapter 11 cases to receive payment on the Claim, regardless of its priority. The Debtors are

continuing to work through what has been an efficient and value-maximizing sale process—

ultimately to fund equitable distributions to stakeholders pursuant to a plan. While the payment

of claims may be delayed by this process, delay does not amount to material hardship.

        31.     Lastly, paying certain administrative claimants ahead of others would undermine

one of the Bankruptcy Code’s chief goals: orderly distribution. See In re Glob. Home Prod., 2006

WL 3791955, at *3 (citing HQ Global Holdings, 282 B.R. at 173) (ruling that, in making the

determination regarding the timing of payment of administrative expenses, “one of the chief

factors courts consider is bankruptcy’s goal of an orderly and equal distribution among creditors

and the need to prevent a race to a debtor’s assets”). As noted above, acceding to PBGC’s request

for immediate payment could result in other potential administrative expense claimants requesting

immediate relief in the near term, needlessly creating an uncontrolled scramble for payment of

administrative claims and undermining the orderly and equitable distribution among similarly

situated claimants, all while the Debtors’ focus should be on confirming these chapter 11 cases

after a nearly sixteen months after they were commenced.




6   See Confirmation Hearing Notice [Docket No. 5029].


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                                             Conclusion

       32.     For the foregoing reasons, the Debtors respectfully request that this Court deny the

Motion.

                                       Reservation of Rights

       33.     Nothing contained herein is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, priority, or validity of any claim against the Debtors

under the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’

or any other party in interest’s rights to dispute any claim on any grounds; (c) a promise or

requirement to pay any particular claim; (d) an implication, admission or finding that any particular

claim is an administrative expense claim, other priority claim or otherwise of a type specified or

defined in this Objection or any order granting the relief requested by this Objection; (e) a request

or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or

perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.



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Dated: December 23, 2024
Wilmington, Delaware

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